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UNITED STATES DISTRICT COURT 9 1 2019
SOUTHERN DISTRICT OF TEXAS MAY
MCALLEN DIVISION David Jl. Bradley, Clerk
UNITED STATES OF AMERICA §
§
Vv. § M
§ Criminal No. - -
OSCAR RODRIGUEZ, JR. § 1 9 8 6 4
INDICTMENT
THE GRAND JURY CHARGES:
Count One

On or about April 18, 2019, in the Southern District of Texas and within the jurisdiction of
the Court, defendant,
OSCAR RODRIGUEZ, JR.
did knowingly possess a machinegun, namely, a Glock, Model 26, 9mm caliber pistol and a Glock,
Model 27, .40 caliber pistol.
In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).
Count Two
On or about April 18, 2019, in the Southern District of Texas and within the jurisdiction of
the Court, defendant,
OSCAR RODRIGUEZ, JR.
then being an unlawful user and addicted to a controlled substance as defined in Title 21, United
States Code, Section 802 did knowingly and unlawfully possess in and affecting interstate and
foreign commerce a firearm, namely, a Glock, Model 26, 9mm caliber pistol; a Glock, Model 27,
40 caliber pistol; a Beretta, Model PX4 Storm, .45 caliber pistol; and a Winchester, Model 12, 12

gauge shotgun.
 

 

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In violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).
Count Three

On or about April 18, 2019, in the Southern District of Texas and within the jurisdiction of

the Court, defendant,
OSCAR RODRIGUEZ, JR.

a felon, having been convicted of the following crime punishable by imprisonment for a term
exceeding one year, namely, in the 398th Judicial District Court in Hidalgo County, Texas on July
21, 2008, in cause number CR-2520-07-I for Burglary of Habitation, did knowingly and
unlawfully possess in and affecting interstate and foreign commerce a firearm, namely, a Glock,
Model 26, 9mm caliber pistol; a Glock, Model 27, .40 caliber pistol; a Beretta, Model PX4 Storm,
.45 caliber pistol; and a Winchester, Model 12, 12 gauge shotgun.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

NOTICE OF FORFEITURE
18 U.S.C. §922(g)(1)

Pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), the United States gives notice to defendant,
OSCAR RODRIGUEZ, JR.
that upon conviction of a violation of Title 18, United States Code, Section 922(g)(1), 922(g)(3),
or 922(0) all firearms involved in said violation are subject to forfeiture, including but not limited

to the following:
 

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a Glock, Model 26, 9mm caliber pistol S/N BDNT345;
a Glock, Model 27, .40 caliber pistol S/N WK Y119;
a Beretta, Model PX4 Storm, .45 caliber pistol S/N PK36034; and

a Winchester, Model 12, 12 gauge shotgun S/N 554668

A TRUE BILL

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FOREPERSON

RYAN K. PATRICK
UNITED STATES ATTORNEY

gaz _

ASSISTANT ATES ATTORNEY
